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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                               3/16/2023
 STATISTICA CAPITAL LTD ET AL.,

                                  Plaintiffs,
                                                              23-cv-00993-ALC
                      -against-
                                                              ORDER
 SIGNATURE BANK,

                                  Defendant.


ANDREW L. CARTER, JR., United States District Judge:

         As discussed in today’s Court Conference, the parties are ORDERED to file a joint status

report on or by March 22, 2023. The parties will advise the Court on their position as to Plaintiffs’

amended complaint, ECF No. 33, and Defendant’s anticipated motion to stay these proceedings.

SO ORDERED.

Dated:          March 16, 2023                  _________________________________
                New York, New York                         ANDREW L. CARTER, JR.
                                                           United States District Judge
